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                                        IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE

             In re:
                                                                             Chapter 11
                                                              1
             Prime Core Technologies Inc., et al.,
                                                                             Case No. 23-11161 (JKS)
                                                              Debtors.
                                                                             (Jointly Administered)


                                                            AFFIDAVIT OF SERVICE

                  I, Andrew K. Fitzpatrick, depose and say that I am employed by Stretto, the claims and
           noticing agent for the Debtors in the above-captioned cases.

                  On November 13, 2023, at my direction and under my supervision, employees of Stretto
           caused the following documents to be served via electronic mail on the service list attached hereto
           as Exhibit A:

                     Motion of the Debtors for Entry of an Order Authorizing the Debtors to Sell Certain
                      Foreign Currency Free and Clear of All Liens, Claims, Interests, and Encumbrances
                      Pursuant to Bankruptcy Code Section 363 (Docket No. 413)

                     Declaration of Timothy Bowman in Support of the Motion of the Debtors for Entry
                      of an Order Authorizing the Debtors to Sell Certain Foreign Currency Free and Clear
                      of All Liens, Claims, Interests, and Encumbrances Pursuant to Bankruptcy Code
                      Section 363 (Docket No. 415)

                     Declaration of Joseph B. Evans in Support of the Motion of the Debtors for Entry of
                      an Order Authorizing the Debtors to Sell Certain Foreign Currency Free and Clear
                      of All Liens, Claims, Interests, and Encumbrances Pursuant to Bankruptcy Code
                      Section 363 (Docket No. 416)

                   Furthermore, on November 14, 2023, at my direction and under my supervision, employees
           of Stretto caused the following documents to be served via first-class mail on TrustToken, Inc.,
           c/o Wollmuth Maher & Deutsch LLP, Attn: Steven S. Fitzgerald and Yating Wang, 500 Fifth
           Avenue, New York, NY 10110:

                     Motion of the Debtors for Entry of an Order Authorizing the Debtors to Sell Certain
                      Foreign Currency Free and Clear of All Liens, Claims, Interests, and Encumbrances
                      Pursuant to Bankruptcy Code Section 363 (Docket No. 413)


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           ______________________________________________
           1
             The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
           are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
           (4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
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                   Declaration of Timothy Bowman in Support of the Motion of the Debtors for Entry
                    of an Order Authorizing the Debtors to Sell Certain Foreign Currency Free and Clear
                    of All Liens, Claims, Interests, and Encumbrances Pursuant to Bankruptcy Code
                    Section 363 (Docket No. 415)

                   Declaration of Joseph B. Evans in Support of the Motion of the Debtors for Entry of
                    an Order Authorizing the Debtors to Sell Certain Foreign Currency Free and Clear
                    of All Liens, Claims, Interests, and Encumbrances Pursuant to Bankruptcy Code
                    Section 363 (Docket No. 416)

                   Furthermore, on November 14, 2023, at my direction and under my supervision, employees
           of Stretto caused the following documents to be served via first-class mail on the service list
           attached hereto as Exhibit B:

                   Motion of the Debtors for Entry of an Order Authorizing the Debtors to Sell Certain
                    Foreign Currency Free and Clear of All Liens, Claims, Interests, and Encumbrances
                    Pursuant to Bankruptcy Code Section 363 (Docket No. 413)

                   Declaration of Timothy Bowman in Support of the Motion of the Debtors for Entry
                    of an Order Authorizing the Debtors to Sell Certain Foreign Currency Free and Clear
                    of All Liens, Claims, Interests, and Encumbrances Pursuant to Bankruptcy Code
                    Section 363 (Docket No. 415)

                   Declaration of Joseph B. Evans in Support of the Motion of the Debtors for Entry of
                    an Order Authorizing the Debtors to Sell Certain Foreign Currency Free and Clear
                    of All Liens, Claims, Interests, and Encumbrances Pursuant to Bankruptcy Code
                    Section 363 (Docket No. 416)

                   Declaration of Disinterestedness of LTL Attorneys LLP Pursuant to the Order (I)
                    Authorizing the Debtors to Retain and Compensate Professionals Utilized in the
                    Ordinary Course of Business and (II) Granting Related Relief (Docket No. 417)

                   Order Granting Debtors’ Motion for Leave to File a Late Reply in Support of 2004
                    Motion (Docket No. 422)

                   Furthermore, on November 14, 2023, at my direction and under my supervision, employees
           of Stretto caused the following documents to be served via electronic mail on the service list
           attached hereto as Exhibit A:

                   Declaration of Disinterestedness of LTL Attorneys LLP Pursuant to the Order (I)
                    Authorizing the Debtors to Retain and Compensate Professionals Utilized in the
                    Ordinary Course of Business and (II) Granting Related Relief (Docket No. 417)

                   Order Granting Debtors’ Motion for Leave to File a Late Reply in Support of 2004
                    Motion (Docket No. 422)


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                   Furthermore, on November 14, 2023, at my direction and under my supervision, employees
           of Stretto caused the following document to be served via first-class mail on the service list
           attached hereto as Exhibit C, and via electronic mail on the service list attached hereto as
           Exhibit D:

                   Order Granting Debtors’ Motion for Leave to File a Late Reply in Support of 2004
                    Motion (Docket No. 422)

                   In addition to the methods of service set forth herein, parties who have requested electronic
           notification of filings via the Bankruptcy Court’s CM/ECF system were sent the above referenced
           documents via electronic service.


           Dated: November 17, 2023                                      _____________________________
                                                                              Andrew K. Fitzpatrick
           State of Colorado            )
                                        ) SS.
           County of Denver             )

           Subscribed and sworn before me this 17th day of November 2023 by Andrew K. Fitzpatrick.


           _____________________________
              (Notary’s official signature)




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                                                Exhibit A




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                                                                                       Exhibit A
                                                                                 Served via Electronic Mail

                                   Name                                            Attention 1                       Attention 2                                Email
                                                                      c/o Pashman Stein Walder          Attn: John W. Weiss, William R. Firth, jweiss@pashmanstein.com
    Allegheny Casualty Company                                        Hayden, P.C.                      III                                    wfirth@pashmanstein.com
    Allsectech, Inc.                                                  Attn: Aviral Dhirendra                                                   aviral198828@gmail.com
                                                                      c/o Troutman Pepper Hamilton      Attn: David M. Fournier & Evelyn J. david.fournier@troutman.com
    AnchorCoin LLC                                                    Sanders LLP                       Meltzer                                evelyn.meltzer@troutman.com
    Austin Ward                                                                                                                                austindward@proton.me
                                                                      c/o Meyers, Roman, Friedberg &
    Coinbits, Inc.                                                    Lewis LPA                         Attn: David M Newumann                dneumann@meyersroman.com
                                                                                                                                                 susheelkirpalani@quinnemanuel.com
                                                                                                                                                 pattytomasco@quinnemanuel.com
                                                                                                           Attn: Susheel Kirpalani & Patricia B. danielholzman@quinnemanuel.com
                                                                                                           Tomasco & Daniel Holzman & Alain alainjaquet@quinnemanuel.com
    Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings Ltd., c/o Quinn Emanuel Urquhart &      Jaquet & Razmig Izakelian & Joanna razmigizakelian@quinnemanuel.com
    and Bittrex Malta Ltd.                                               Sullivan, LLP                     Caytas                                joannacaytas@quinnemanuel.com
    Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings Ltd., c/o Young Conaway Stargatt &      Attn: Robert S. Brady & Kenneth J.    rbrady@ycst.com
    and Bittrex Malta Ltd.                                               Taylor, LLP                       Enos                                  kenos@ycst.com
    DMG Blockchain Solutions, Inc.                                       Attn: Steven Eliscu                                                     steve@dmgblockchain.com
                                                                                                                                                 akornfeld@pszjlaw.com
                                                                         c/o Pachulski Stang Ziehl & Jones Attn: Alan J. Kornfeld & Jason H.     jrosell@pszjlaw.com
    George Georgiades, Kevin Lehtiniitty, and Scott Purcell              LLP                               Rosell & James E. O’Neill             joneill@pszjlaw.com
                                                                         c/o Gellert Scali Busenkell &
    Kado Software, Inc.                                                  Brown, LLC                        Attn: Michael Van Gorder              mvangorder@gsbblaw.com
    Kado Software, Inc.                                                  c/o Raines Feldman Littrell LLP   Attn: David S. Forsh                  dforsh@raineslaw.com
    Net Cents Technology, Inc.                                           Attn: Clayton Moore                                                     claytonmoore@net-cents.com
    Office of the Attorney General for the District of Columbia                                                                                  oag@dc.gov
    Office of the Attorney General for the State of Alabama                                                                                      consumerinterest@Alabamaag.gov
    Office of the Attorney General for the State of Alaska                                                                                       attorney.general@alaska.gov
    Office of the Attorney General for the State of Arizona                                                                                      BCEIntake@azag.gov
    Office of the Attorney General for the State of California                                                                                   xavier.becerra@doj.ca.gov
    Office of the Attorney General for the State of Colorado                                                                                     DOR_TAC_Bankruptcy@state.co.us
    Office of the Attorney General for the State of Connecticut                                                                                  attorney.general@ct.gov
    Office of the Attorney General for the State of Hawaii                                                                                       hawaiiag@hawaii.gov
    Office of the Attorney General for the State of Illinois                                                                                     michelle@lisamadigan.org
    Office of the Attorney General for the State of Iowa                                                                                         consumer@ag.iowa.gov
    Office of the Attorney General for the State of Kentucky                                                                                     KyOAGOR@ky.gov
    Office of the Attorney General for the State of Louisiana                                                                                    ConstituentServices@ag.louisiana.gov
    Office of the Attorney General for the State of Maryland                                                                                     oag@oag.state.md.us
    Office of the Attorney General for the State of Massachusetts                                                                                ago@state.ma.us
    Office of the Attorney General for the State of Michigan                                                                                     miag@michigan.gov
    Office of the Attorney General for the State of Missouri                                                                                     consumer.help@ago.mo.gov
    Office of the Attorney General for the State of New Hampshire                                                                                attorneygeneral@doj.nh.gov
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                                                                                     Exhibit A
                                                                               Served via Electronic Mail

                                  Name                                         Attention 1                         Attention 2                            Email
    Office of the Attorney General for the State of North Dakota                                                                           ndag@nd.gov
    Office of the Attorney General for the State of Oklahoma                                                                               questions@oag.ok.gov
    Office of the Attorney General for the State of Utah                                                                                   uag@utah.gov
    Office of the Attorney General for the State of Vermont                                                                                ago.info@vermont.gov
    Office of the Attorney General for the State of West Virginia                                                                          consumer@wvago.gov
                                                                                                                                           rstark@brownrudnick.com
                                                                                                     Attn: Robert J. Stark & Bennett S.    bsilverberg@brownrudnick.com
                                                                                                     Silverberg & Kenneth J. Aulet &       kaulet@brownrudnick.com
    Official Committee of Unsecured Creditors                       c/o Brown Rudnick LLP            Jennifer M. Schein                    jschein@brownrudnick.com
                                                                                                     Attn: Tristan G. Axelrod & Matthew A. taxelrod@brownrudnick.com
    Official Committee of Unsecured Creditors                       c/o Brown Rudnick LLP            Sawyer                                msawyer@brownrudnick.com
                                                                    c/o Womble Bond Dickinson (US) Attn: Donald J. Detweiler & Elazar A. don.detweiler@wbd-us.com
    Official Committee of Unsecured Creditors                       LLP                              Kosman                                elazar.kosman@wbd-us.com
    OKCoin USA Inc. and OKC USA Holding Inc.                        c/o Duane Morris LLP             Attn: Sommer L. Ross                  slross@duanemorris.com
                                                                    c/o Buchalter, A Professional
    Oracle America, Inc.                                            Corporation                      Attn: Shawn M. Christianson           schristianson@buchalter.com
                                                                    c/o McElroy, Deutsch, Mulvaney &
    Philadelphia Indemnity Insurance Company                        Carpenter, LLP                   Attn: Gary D. Bressler                gbressler@mdmc-law.com
    Polaris Ventures                                                Attn: Ruairi Donnelly                                                  ruairi.donnelly@polaris-ventures.org
                                                                    c/o Mintz, Levin, Cohn, Ferris,
    Polaris Ventures                                                Glovsky and Popeo, P.C.          Attn: Abigail O’Brient                aobrient@mintz.com
                                                                    c/o Mintz, Levin, Cohn, Ferris,
    Polaris Ventures                                                Glovsky and Popeo, P.C.          Attn: Joseph R. Dunn                  jrdunn@mintz.com
                                                                    c/o Young Conaway Stargatt &     Attn: Michael R. Nestor & Ryan M.     mnestor@ycst.com
    Polaris Ventures                                                Taylor, LLP                      Bartley                               rbartley@ycst.com
    Securities And Exchange Commission                              Attn: Lara Shalov Mehraban                                             nyrobankruptcy@sec.gov
    Stably Corporation                                              Attn: Ivan Inchauste                                                   ivan@stably.io
                                                                                                                                           JWilliamson@gravislaw.com
    Stably Corporation                                              c/o Gravis Law, PLLC             Attn: Jill Williamson                 MPyfrom@gravislaw.com
                                                                                                                                           JOLeary@gravislaw.com
                                                                                                                                           DCannon@gravislaw.com
                                                                                                                                           MHess@gravislaw.com
    Stably Corporation                                              c/o Gravis Law, PLLC              Attn: John W. O'Leary                HHarden@gravislaw.com
    Thomas Pageler                                                  c/o Clark Hill PLC                Attn: Karen M. Grivner               kgrivner@clarkhill.com
                                                                                                      Attn: Tobias S. Keller & Traci L.    tkeller@kbkllp.com
    Tiki Labs, Inc. dba Audius Inc.                                 c/o Keller Benvenutti Kim LLP     Shafroth                             tshafroth@kbkllp.com
                                                                    c/o Pashman Stein Walder
    Tiki Labs, Inc. dba Audius Inc.                                 Hayden PC                         Attn: John W. Weiss                  jweiss@pashmanstein.com
    US Attorney’s Office for the District of Delaware                                                                                      USADE.ECFBANKRUPTCY@usdoj.gov
    Yousef Abbasi                                                                                                                          Yousef.a.abbasi@gmail.com


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                                                Exhibit B




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                                                                                            Exhibit B
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                              Name                                       Attention                     Address 1                           Address 2                   City     State     Zip     Country
 Internal Revenue Service                                                             PO Box 7346                                                               Philadelphia   PA     19101-7346
 Office of the Attorney General for the District of Columbia                          441 4Th St Nw, Ste 1100S                                                  Washington     DC     20001
 Office of the Attorney General for the District of Puerto Rico                       350 Carlos Chardón Street                Torre Chardón, Suite 1201        San Juan       PR     00918      Puerto Rico
 Office of the Attorney General for the State of Alabama                              501 Washington Ave                                                        Montgomery     AL     36104
 Office of the Attorney General for the State of Alaska                               1031 W 4th Ave, Ste 200                                                   Anchorage      AK     99501
 Office of the Attorney General for the State of Arizona                              2005 N Central Ave                                                        Phoenix        AZ     85004
 Office of the Attorney General for the State of Arkansas                             323 Center St, Ste 200                                                    Little Rock    AR     72201
 Office of the Attorney General for the State of California                           PO Box 944255                                                             Sacramento     CA     94244-2550
 Office of the Attorney General for the State of Colorado                             Ralph L. Carr Judicial Building          1300 Broadway, 10Th Fl           Denver         CO     80203
 Office of the Attorney General for the State of Connecticut                          165 Capitol Ave                                                           Hartford       CT     06106
 Office of the Attorney General for the State of Florida                              The Capitol Pl-01                                                         Tallahassee    FL     32399
 Office of the Attorney General for the State of Georgia                              40 Capitol Sq Sw                                                          Atlanta        GA     30334
 Office of the Attorney General for the State of Hawaii                               425 Queen Street                                                          Honolulu       HI     96813
 Office of the Attorney General for the State of Idaho                                700 W. Jefferson St, Suite 210                                            Boise          ID     83720
 Office of the Attorney General for the State of Illinois                             James R. Thompson Center                 100 W. Randolph St               Chicago        IL     62706
 Office of the Attorney General for the State of Indiana                              Indiana Government Center South          302 W Washington St 5Th Fl       Indianapolis   IN     46204
 Office of the Attorney General for the State of Iowa                                 Hoover State Office Building             1305 E. Walnut Street Rm 109     Des Moines     IA     50319
 Office of the Attorney General for the State of Kansas                               120 SW 10Th Ave, 2nd Fl                                                   Topeka         KS     66612
 Office of the Attorney General for the State of Kentucky                             Capitol Building                         700 Capitol Ave Ste 118          Frankfort      KY     40601
 Office of the Attorney General for the State of Louisiana                            1885 N. Third St                                                          Baton Rouge LA        70802
 Office of the Attorney General for the State of Maine                                6 State House Station                                                     Augusta        ME     04333
 Office of the Attorney General for the State of Maryland                             200 St. Paul Pl                                                           Baltimore      MD     21202
 Office of the Attorney General for the State of Massachusetts                        1 Ashburton Place, 20Th Floor                                             Boston         MA     02108
 Office of the Attorney General for the State of Michigan                             G. Mennen Williams Building, 7Th Floor   525 W Ottawa St                  Lansing        MI     48909
 Office of the Attorney General for the State of Minnesota                            445 Minnesota St, Ste 1400                                                St. Paul       MN     55101
 Office of the Attorney General for the State of Mississippi                          Walter Sillers Building                  550 High St Ste 1200             Jackson        MS     39201
 Office of the Attorney General for the State of Missouri                             Supreme Court Building                   207 W High St                    Jefferson City MO 65101
 Office of the Attorney General for the State of Montana                              215 N. Sanders                           Justice Building, Third Fl       Helena         MT     59601
 Office of the Attorney General for the State of Nebraska                             2115 State Capitol                                                        Lincoln        NE     68509
 Office of the Attorney General for the State of Nevada                               Old Supreme Court Building               100 N Carson St                  Carson City    NV     89701
 Office of the Attorney General for the State of New Hampshire                        Nh Department Of Justice                 33 Capitol St.                   Concord        NH     03301
 Office of the Attorney General for the State of New Jersey                           Richard J. Hughes Justice Complex        25 Market St 8Th Fl, West Wing   Trenton        NJ     08611
 Office of the Attorney General for the State of New Mexico                           408 Galisteo Street                      Villagra Building                Santa Fe       NM     87501
 Office of the Attorney General for the State of New York                             The Capitol                              2nd Floor                        Albany         NY     12224
 Office of the Attorney General for the State of North Carolina                       114 W Edenton St                                                          Raleigh        NC     27603
 Office of the Attorney General for the State of North Dakota                         State Capitol, 600 E Boulevard Ave       Dept. 125                        Bismarck       ND     58505
 Office of the Attorney General for the State of Ohio                                 State Office Tower                       30 E Broad St 14Th Fl            Columbus       OH     43215
 Office of the Attorney General for the State of Oklahoma                             313 Ne 21St St                                                            Oklahoma City OK      73105
 Office of the Attorney General for the State of Oregon                               1162 Court St NE                                                          Salem          OR     97301
 Office of the Attorney General for the State of Pennsylvania                         Strawberry Square 16Th Fl                                                 Harrisburg     PA     17120
 Office of the Attorney General for the State of Rhode Island                         150 S Main St                                                             Providence     RI     02903
 Office of the Attorney General for the State of South Carolina                       Rembert C. Dennis Bldg                   1000 Assembly St Rm 519          Columbia       SC     29201
 Office of the Attorney General for the State of South Dakota                         1302 E Highway 14, Ste 1                                                  Pierre         SD     57501
 Office of the Attorney General for the State of Tennessee                            301 6Th Ave N                                                             Nashville      TN     37243
 Office of the Attorney General for the State of Texas                                300 W. 15Th St                                                            Austin         TX     78701
 Office of the Attorney General for the State of Utah                                 Utah State Capitol Complex               350 North State St Ste 230       Salt Lake City UT     84114
 Office of the Attorney General for the State of Vermont                              109 State St.                                                             Montpelier     VT     05609
 Office of the Attorney General for the State of Virginia                             202 N. Ninth St.                                                          Richmond       VA     23219
 Office of the Attorney General for the State of Washington                           1125 Washington St Se                                                     Olympia        WA 98501
 Office of the Attorney General for the State of Washington                           PO Box 40100                                                              Olympia        WA 98504

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                                                                                                   Served via First-Class Mail


                              Name                                           Attention                              Address 1                         Address 2              City    State     Zip         Country
 Office of the Attorney General for the State of West Virginia                                     State Capitol, 1900 Kanawha Blvd E     Building 1 Rm E-26            Charleston   WV 25305
 Office of the Attorney General for the State of Wisconsin                                         17 West Main Street, Room 114 East P                                 Madison      WI    53702
 Office of the Attorney General for the State of Wyoming                                           Kendrick Building                      2320 Capitol Ave              Cheyenne     WY 82002

 Office of The U.S. Trustee for the District of Delaware          Attn: Linda Casey & Joseph Cudia 844 N King St #2207                    Lockbox 35                    Wilmington   DE    19801
                                                                  Attn: Andrew Calamari, Regional New York Regional Office, Brookfield
 Securities And Exchange Commission                               Director                         Place                                  200 Vesey Street, Suite 400   New York     NY    10281-1022
 Securities And Exchange Commission                               Attn: Lara Shalov Mehraban       100 Pearl St                           Suite 20-100                  New York     NY    10004-2616
 Securities And Exchange Commission                               Attn: Secretary of The Treasury  100 F Street, NE                                                     Washington   DC    20549
 US Attorney’s Office for the District of Delaware                                                 1313 N Market Street                                                 Wilmington   DE    19801




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                                               Exhibit C




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                                                                            Exhibit C
                                                                      Served via First-Class Mail
                              Name                          Attention                          Address 1               City    State Zip
                      James S. Green, Jr.     c/o Seitz, Van Ogtrop & Green, P.A.   222 Delaware Avenue, Suite 1500 Wilmington DE   19801
                      Kathryn S. Diemer       c/o Diemer & Wei, LLP                 55 S. Market Street, Suite 1420 San Jose CA     95113




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                                               Exhibit D




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                                                                             Exhibit D
                                                                       Served via Electronic Mail
                                                Name                        Attention 1                       Email
                                         James S. Green, Jr.   c/o Seitz, Van Ogtrop & Green, P.A.   jsgreen@svglaw.com
                                         Kathryn S. Diemer     c/o Diemer & Wei, LLP                 kdiemer@diemerwei.com




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